Case 2:05-CV-02357-SHI\/|-STA Document 5 Filed 06/08/05 Page 1 of 2 Page|D 1

  
  

Fl|.ED BY ____`_,_ D.C.

IN THE UNlTED sTATES DISTRICT COURT 05 JUN "8 PH '4‘ l45

F`OR THE WESTERN DISTRICT OF TENNESSEE
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ALL]ANCE MARKETING GROUP, LLC,

Plaintiff,
No. 05-23 57-M21An

V.
SUN GROUP, INC.,
Defendant.

ORDER GRANTING DEFENDANT SUN GROUP, INC.
ADD`ITIONAL TIME TO RESPOND TO COMPLAINT

Upon the motion of Sun Group, lnc. to extend the time for it to respond to the Complaint to

July S, 2005, upon plaintiffs consent thereto and for good cause,

IT lS HEREBY ORDERED, BY CONSENT, that Sun Group, Inc. shall have through and

until Friday, July 8, 2005 to respond to the Complaint in this Cause.

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United States Magistrate lodge
Date: 22nd §§ loaf

BY CON SENT:

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DAVID M. RUDOLPH, Anomey for Ptaimiff

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Notice of Distribution

This notice confirms a copy of the document docketed as number 5 in
case 2:05-CV-02357 Was distributed by faX, mail, or direct printing on
June 13, 2005 to the parties listed.

 

 

David M. Rudolph

MARTIN TATE MORROW & MARSTON
6410 Poplar Ave.

Ste. 1000

Memphis7 TN 38119

Honorable Sarnuel Mays
US DISTRICT COURT

